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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF IOWA
                                CENTRAL DIVISION

CHRISTOPHER W. BRUCE and
ELIZABETH BRUCE,

     Plaintiffs,

v.

POLK COUNTY ATTORNEY’S OFFICE;
JOHN P. SARCONE, Polk County Attorney;
JESSE RAMIREZ, Polk County Attorney;
STEPHANIE BROWN, Polk County Attorney;
KEVIN BROWNELL, Polk County Attorney;
KEVIN BELL, Assistant Polk County Attorney;
THE IOWA DEPARTMENT OF HUMAN
SERVICES; KATIE GOSCH, Caseworker;
STEPHANIE RHINEHART, Supervisor; EMILY
NIEMAN, SW4; THE DES MOINES POLICE
DEPARTMENT; JAKE LANCASTER,
                                                No. 4:18-cv-00040-RGE-HCA
Detective; THE ALTOONA POLICE
DEPARTMENT; THE CITY OF CARROLL
                                                   ORDER GRANTING
POLIC DEPARTMENT; GREG
                                               APPLICATIONS TO PROCEED
BELLINGHAUSEN, Officer; THE IOWA
                                                  IN DISTRICT COURT
STATE ATTORNEY GENERAL’S OFFICE;
                                                 WITHOUT PREPAYING
GRANT DUGDALE, Assistant Attorney
                                                    FEES OR COSTS
General; KATHERINE MILLER-TODD,
Assistant Attorney General; CHILDREN AND
FAMILIES OF IOWA; ASHLEY ANDREWS,
Visit Supervisor; WILLIAM A. PRICE, Polk
County District Judge; WILLIAM KELLY, Polk
County District Judge; ROBERT BLINK, Polk
County District Judge; CAROL EGLY, Polk
County District Judge; JEANIE VAUDT, Polk
County District Judge; ANASTASIA HURN,
Polk County District Magistrate Judge; LINDA
LANE, Former Assistant Polk County Attorney;
DALE MAYS, Attorney, Benzoni Law Firm;
PAUL WHITE, Guardian Ad Litem Attorney;
BETH WALKER, Attorney, Walker Law Firm;
ANTHONY REED, Manager, Central Iowa
Family Services; LUCAS TAYLOR, Attorney,
Mark R. Hinshaw Law Firm,

     Defendants.
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      This matter is before the Court on Plaintiffs’ Applications to Proceed in District Court Without

Prepaying Fees or Costs. ECF Nos. 3–4. Having considered the Applications, the Court finds the

Plaintiffs are without resources to proceed. Accordingly, the Applications to Proceed in District Court

Without Prepaying Fees or Costs, ECF Nos. 3–4, are GRANTED.

      The Clerk of Court is instructed to file this action without prepayment of costs.

      IT IS SO ORDERED.

      Dated this 5th day of April, 2018.




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